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                                               CV 17-316-B                                      Filed 8/30/2017 2:51 PM
                                                                                                            Teresa Black
                                      Freestone County - District Clerk                                     District Clerk
                                                                                               Freestone County, Texas


                                  CAUSE NO. CiU 1 7-3 1 6-B                                            Kristi Rose



RONALD W. CHERRY,                                         §                  IN THE DISTRICT COURT
     Plaintiff,                                           §
                                                         §
vs.                                                       §
                                                          §                 87TH JUDICIAL DISTRICT
LIBERTY INSURANCE CORPORATION and                         §
JONATHAN CARNLEY,                                         §
      Defendants.                                         §                           ~
                                                                          FREESTONE COUNTY, TEXAS

                                PLAINTIFF'S ORIGINAL PETITION

 TO THE HONORABLE JUDGE OF SAID COURT:

          RONALD W. CHERRY, Plaintiff herein, files this his Original Petition against Defendants,

 LIBERTY INSURANCE CORPORATION and JONATHAN CARNLEY, and, in support of his

 causes of action, would respectfully show the Court the following:

                                          I.        PARTIES

         1.     Plaintiff owns the property made the basis of this suit in Freestone County, Texas.

Said property is located at: 388 Stonewall Drive, Streetman, Texas 75859 (the "Property").

         2.     LIBERTY INSURANCE CORPORATION ("LIC") is a foreign entity authorized to

engage in the insurance business in the State of Texas, and may be served by serving its

Registered Agent for Service of Process, Corporation Service Company located at 211 East 7th

Street, Suite 620, Austin, Texas 78701. Service is requested by certified mail, return receipt

requested, pursuant to Tex. R. Civ. P., Rule 106

         3.     JONATHAN CARNLEY is a licensed insurance adjuster in the State of Texas who

at all times material hereto "inspected" and adjusted Plaintiff's claims on behalf of LIC. Mr. Carnley

may be personally served with process by serving him at 1701 Post Oak Dr., Kilgore, Texas

75662.

                                        II.        DISCOVERY

         4.     Plaintiff intends to conduct discovery under Level 3 of Texas Rules of Civil Procedure

190.2 and 169.




                                        EXHIBIT "A"
                    ~
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                                      I11.     c CLAIM FOR RELIEF

       5.      Plaintiff does not wish to impose any limit on what he may present to the jury or what

the jury may consider as a range of damages in this case. However, Plaintiff makes the following

representation in compliance with Tex. R. Civ. P. 47(c) to aid in the efficient court administration.

Plaintiff believes that the most reasonable option afforded under Tex. R. Civ. P. 47, at this time,

prior to the completion of discovery in the case, is to seek monetary relief over $200,000 but not to

exceed $1,000,000, exclusive of interest and costs, which is the only option that does not require

Plaintiff to select a speculative, arbitrary cap on his damages. Plaintiff reserves the right to modify

or adjust this statement, as the litigation progresses and additional evidence is compiled.

Regardless of what Plaintiff must state for administrative purposes as the amount of damages he

seeks pursuant to Tex. R. Civ. P. 47(c), he desires to leave the final determination of damages, if

any, to the sole province of the jury, based upon the credible evidence presented to the jury at trial.

                                IV.          JURISDICTION AND VENUE

       6.      This court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

       7.      Venue is proper in Freestone County under Tex. Civ. Prac. & Rem. Code

§15.002(a)(1) because all or a substantial part of the events or omissions giving rise to the claim

occurred in said County. In particular, the loss at issue occurred in this County and the bad faith acts

of Mr. Camley occurred in this County.

                                 V.          FACTUAL BACKGROUND

       8.      Mr. Cherry is a named insured under a property insurance policy issued by LIC.

       9.      On or about March 27, 2017; a massive wind and hail storm hit Freestone County,

Texas, damaging Mr. Cherry's house and other property. He subsequently filed a claim on his                `N

insurance policy and hired Roy Young with Young Public Adjusters, LLC to assist with his claims.

       10.     On or about May 18, 2017, David Owen on behalf of LIC went to the property for an

inspection with Mr. Young present. Mr. Owen arrived that morning an hour late for the inspection.

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Once he arrived, and prior to conducting any inspection, he stated that there was penny size hail in

the area and that there was no hail damage to the roof. During the inspection, Mr. Owen never got

on the roof to inspect it with his own eyes. Mr. Owen did inspect the garage doors and claims that

dents to the garage doors were not due to hail, but to "rock damage from lawn mowers."

       11.     Shortly thereafter, LIC issued its opinions and an estimate. LIC improperly denied

portions of the claim and underpaid areas it considered damage by a covered peril.

       12.     In response, on or about June 9, 2017, Mr. Young requested that a reinspection take

place at the property based on the initial adjuster's outcome oriented inspection, failure to properly

inspect the roof and Mr. Young's estimate and photograph report that clearly shows hail damage.

       13.     On or about June 26, 2017, Mr. Owen called Mr. Young to schedule a reinspection

of the property.

       14.     Mr. Young and Mr. Cherry did not want the same adjuster, Mr. Owen, to reinspect the

property. Mr. Young and Mr. Cherry requested that a different adjuster be assigned to the claim and

reinspect.

       15.     Sometime in July, LIC assigned a new adjuster to the claim, Jonathan Carnley.

Shortly thereafter, Mr. Carnley visited the property for a re-inspection with Mr. Young present.

       16.     During that inspection Mr. Carnley and Mr. Young got onto the roof together. Once
                                                             ~
on top of the roof, Mr. Carnley handed Mr. Young his camera and asked that Mr. Young take pictures

of hail damage. Mr. Carnley never inspected the property with his own eyes. Mr. Carnley also warned

Mr. Young that the entire inspection was being videotaped with a camera that was connected to his

sunglasses. At the end of the inspection, Mr. Carnley stated that he would pay for the roof if Mr.

Young would forego any other damage claim. Mr. Young declined.

       17.     Mr. Young reported Mr. Carnley's actions to LIC.

       18.     In response, Mr. Carnley, on behalf of LIC, sent a threatening email to Mr. Young

demanding that Mr. Young change his "allegation" of how the inspection was handled.

       19.     LIC and Mr. Carnley essentially conducted no investigation and inspection of the

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    property, prepared a report that failed to include all of the damages that were noted during the

    inspection, undenralued the damages that clearly existed, and threatened Plaintiff's public adjuster

    who was assisting with this claim.

           20.      LIC and Mr. Carnley's unreasonable investigation led to the underpayment and/or no

    payment of Plaintiff's claim.

           21.      Moreover, LIC and Mr. Carnley performed an outcome-oriented investigation of

    Plaintiffs claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs losses on

    the property.

                                          VI.     CAUSES OF ACTION

           22.      Each of the foregoing paragraphs is incorporated by reference in the following:

     A.        Breach of Contract (Defendant LIC)

           23.      Defendant had a contract of insurance with Plaintiff. Defendant breached the terms

    of that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

    thereby.

     B.        Prompt Payment of Claims Statute (Defendant LIC)

           24.      The failure of Defendant to pay for the losses and/or to follow the statutory time
~
    guidelines for accepting or denying coverage constitutes a violation of Article 542.051 et seq. of the

    Texas Insurance Code.

           25.      Plaintiff, therefore, in addition to Plaintiff's claim for damages is entitled to 18% interest

    and attorneys' fees as set forth in Article 542.060 of the Texas Insurance Code.

    C.         Bad Faith/DTPA (AII Defendants)

           26.      Defendants are required to comply with Chapter 541 of the Texas Insurance Code.

           27.      Defendants violated § 541.051 of the Texas Insurance Code by:

                    (1)     making statements misrepresenting the terms and/or benefits of the policy.

           28.      Defendants violated § 541.060 by:

                    (1)     misrepresenting to Plaintiff a material fact or policy provision relating to

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              coverage at issue;

              (2)       failing to attempt in good faith to effectuate a prompt, fair, and equitable

              settlement of a claim with respect to which the insurer's liability had become

              reasonably clear;

              (3)       failing to promptly provide Plaintiff a reasonable explanation of the basis in

              the policy, in relation to the facts or applicable law, for the insurer's denial of a claim

              or offer of a compromise settlement of a claim;

              (4)       failing within a reasonable time to affirm or deny coverage of a claim to

              Plaintiff or submit a reservation of rights to Plaintiff; and

              (5)       refusing to pay the claim without conducting a reasonable investigation with

              respect to the claim;

       29.    Defendants violated § 541.061 by:

              (1)       making an untrue statement of material fact;

              (2)    failing to state a material fact necessary to make other statements made not

              misleading considering the circumstances under which the statements were made;

              (3)       making a statement in a manner that would mislead a reasonably prudent

              person to a false conclusion of a material fact;

              (4)       making a material misstatement of law; and

              (5)       failing to disclose a matter required by law to be disclosed.

       30.    At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from LIC.

       31.    LIC has violated the Texas Deceptive Trade Practices Act in the following respects:

              (1)       Defendants represented that the agreement confers or involves rights,

              remedies, or obligations which it does not have, or involve, or which are prohibited

              by law;

              (2)    Defendants failed to disclose information concerning goods or services which

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                    was known at the time of the transaction when such failure to disclose such

                    information was intended to induce the consumer into a transaction that the

                    consumer would not have entered into had the information been disclosed;

                    (3)     Defendants, by accepting insurance premiums but refusing without a

                    reasonable basis to pay benefits due and owing, engaged in an unconscionable

                    action or course of action as prohibited by the DTPA § 17.50(a)(1)(3) in that this

                    Defendant took advantage of Plaintiff's lack of knowledge, ability, experience, and

                    capacity to a grossly unfair degree, that also resulted in a gross disparity between

                    the consideration paid in the transaction and the value received, in violation of

                    Chapter 541 of the Insurance Code.

              32.   Defendants knowingly commifted the acts complained of. As such, Plaintiff is

    entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code §

    541.152(a)-(b).

    D.      Breach of The Duty of Good Faith and Fair Dealing (AII Defendants)

            33.     Defendants breached the common law duty of good faith and fair dealing owed to

    Plaintiff by failing to investigate the claims, threatening Plaintiff's representative and denying and/or

    delaying payment on the Claim when Defendant knew or should have known liability was reasonably

    clear. Defendant, is therefore liable to Plaintiff.

    E.      Attorneys' Fees

              34.   Plaintiff engaged the undersigned attorneys to prosecute this lawsuit against

    Defendant and agreed to pay reasonable attorneys' fees and expenses through trial and any

    appeal.

            35.     Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to TEX.

    CIV. PRAC. & REM. CODE §§ 38.001-38.003 because Plaintiff is represented by an attorney,

    presented the claim to Defendant, and Defendant did not tender the just amount owed before

    the expiration of the 30th day after the claim was presented.

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        36.       Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred

in prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 of

the Texas Insurance Code.

                                   VII. CONDITIONS PRECEDENT

        37.       AII conditions precedent to Plaintiff's right to recover have been fully performed, or

have been waived by Defendant.

                                          VIII. DEMAND FOR JURY

        38.       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein requests

a jury trial and along with the filing of the Original Petition has tendered to the Clerk of the Court the

statutory jury fee.

                                    IX.     DISCOVERY REQUESTS

        39.       Pursuant to Rule 194, Defendants are requested to disclose, within fifty (50) days

after service of this request, the information or material described in Rule 194.2(a)-(I).

       40.        LIC is also requested to respond to the attached interrogatories, requests for

production and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.

                                              X.       PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that, upon final hearing

 of the case, he recovers all damages from and against Defendant that may reasonably be

 established by a preponderance of the evidence, and that Plaintiff be awarded attorneys' fees

 through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such

 other and further relief, general or special, at law or in equity, to which Plaintiff may show himself      -

 to be justly entitled.

                                                   Respectfully submitted,

                                                   PRESTON DUGAS LAW FIRM, PLLC
                                                   Oil & Gas Building
                                                   309 W. 7th Street, Suite 1100
                                                   Fort Worth, Texas 76102
                                                      7
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                                            Telephone:    (817) 945-3061
                                            Facsimile:    (682) 219-0761
                                            Email: preston@pjdlawfirm.com

                                         By:/s/Preston J. Dugas lll
                                            PRESTON J. DUGAS III
                                            State Bar No. 24050189

                                            ATTORNEY FOR PLAINTIFF


                     PLAINTIFF'S FIRST SET OF INTERROGATORIES,
               REQUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS

       COMES NOW Plaintiff(s) in the above-styled and numbered cause, and requests that

Defendant(s) (1) answer the following Interrogatories separately and fully in writing under oath

within 50 days of service; (2) answer the Requests for Production separately and fully in writing

within 50 days of service; (3) answer the Requests for Admissions separately and fully in writing
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within 50 days of service; (4) serve your answers to these Interrogatories, Requests for Production,

and Requests for Admissions on Plaintiff by and through his attorneys of record, Preston J. Dugas

III, Preston Dugas Law Firm, PLLC; and (5) produce all documents responsive to the Requests

for Production as they are kept in the usual course of business or organized and labeled to

correspond to the categories in the requests within 50 days of service to Preston Dugas Law Firm,

PLLC. You are also advised that you are under a duty to seasonably amend your responses if

you obtain information on the basis of which:

      a.      You know the response made was incorrect or incomplete when made; or

      b.      You know the response, though correct and complete when made, is no longer
              true and complete, and the circumstances are such that a failure to amend the
              answer in substance is misleading.

                                     DEFINITIONS AND INSTRUCTIONS

A.    These Responses call for your personal and present knowledge, as well as the present
      knowledge of your attorneys, investigators and other agents, and for information available
      to you and to them.

B.    If you cannot answer a particular Interrogatory in full after exercising due diligence to secure
      the information to do so, please state so and answer to the extent possible, specifying and
      explaining your inability to answer the remainder and stating whatever information or
      knowledge you have concerning the unanswered portion.
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C.    If you claim that any document which is required to be identified or produced by you in any
      response is privileged:

      1.   Identify the document's title and general subject matter;
      2.   State its date;
      3.   Identify all persons who participated in its preparation;
      4.   Identify the persons for whom it was prepared or to whom it was sent;
      5.   State the nature of the privilege claimed; and
      6.   State in detail each and every fact upon which you base your claim for privilege.

D.    "Documents," includes any written, recorded or graphic matter, however produced or
      reproduced, of every kind regardless of where located including, but not limited to, medical
      records, tax returns, earnings statements, any summary, schedule, memorandum, note,
      statement, letter, telegraph, interoffice communication, report, diary, ledger, journal, log,
      desk or pocket calendar or notebook, day book, appointment book, pamphlet,
      periodical, worksheet, cost sheet, list, graph, chart, telephone or oral conversation, study,
      analysis, transcript, minutes, accounting records, data sheet, tally or similar freight
      documents, computer printout, electronic mail, computer disk, and all other memorials of
      any conversations, meetings and conferences, by telephone or otherwise, and any other
      writing or recording which is in your possession, custody or control or in the possession,
      custody or control of any director, officer, employee, servant or agent of yours or your
      attorneys. The term "documents" shall also include the files in which said documents are
      maintained. Electronically stored information should be produced in PDF format.

E.    "You," "Your," "Yours", "Defendants" and "Defendant" means all Defendants in this case.

F.    In each instance where you are asked to identify or to state the identity of a person, or
      where the answer to an Interrogatory`refers to a person, state with respect to each
      such person:

      1. His or her name;
      2. His or her last known business and residence address and telephone number; and
      3. His or her business affiliation or employment at the date of the transaction, event or
         matter referred to.

G.    If you decide that one question is not simply one question and plan to object based upon
      more than 25 interrogatories, you are instructed to skip that question and continue to
      answer what you consider to be only one question, by answering only the first 25 alleged
      single questions. By answering any one numbered question, you are hereby admitting that
      one number question is in fact one question ahd waive any objection based upon a limit of
      interrogatories.

H.    "Plaintiffs" and "Plaintiff"' includes all Plaintiffs, and refers to a single Plaintiff or multiple
      Plaintiffs, if applicable.

      "Property" means the property at issue in the lawsuit.

J.    "Lawsuit" means this lawsuit.
                                              Respectfully submitted,
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                                            PRESTON DUGAS LAW FIRM, PLLC
                                            Oil & Gas Building
                                            309 W. 7th Street, Suite 1100
                                            Fort Worth, Texas 76102
                                            Telephone:     (817) 945-3061
                                            Facsimile:     (682) 219-0761
                                            Email: preston@pjdlawfirm.com

                                        By:/s/Preston J. Du_gas lll
                                           PRESTON J. DUGAS III
                                           State Bar No. 24050189

                                            ATTORNEY FOR PLAINTIFF


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       Identify the name, address, and role in the claim made the basis of this Lawsuit, if any,
       for all persons providing information for the answers these interrogatories.

       ANSWER:

2.     Identify all persons and/or entities who handled the claim made the basis of the Lawsuit
       on behalf of Defendant.

       I_\01 T.9ANdV1
3.     Does Defendant contend that Plaintiff(s) failed to provide proper notice of the claim made
       the basis of this Lawsuit under either the policy or the Texas Insurance Code, and, if so,
       describe how the notice was deficient, and identify any resulting prejudice caused to
       Defendant.

       ANSWER:

4.     Does Defendant claim that Plaintiff(s) failed to mitigate his or her damages? If so, describe
       how Plaintiff faiied to do so, identifying any resulting prejudice caused to Defendant.

       ANSWER:

5.     Does Defendant contend that Plaintiff(s) failed to provide Defendant with requested
       documents and/or information? If so, identify all requests to which Plaintiff(s) did not
       respond and state whether you denied any portion of the claim based on Plaintiff's(s')
       failure to respond.

       ANSWER:

6.     At the time the claim made the basis of this Lawsuit was investigated and the Property
       inspected (and prior to anticipation of litigation), describe all damage attributable to the
       storm observed at the Property by Defendant or any persons or entities on behalf of
       Defendant.                                                  `
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7.      Identify all exclusions under the Policy applied to the claim made the basis of this Lawsuit,
        and for each exclusion identified, state the reason(s) that Defendant relied upon to apply
        that exclusion.

        ANSWER:

8.      Describe how Defendant determined whether overhead and profit ("O&P") should be
        applied to the claim made the basis of this Lawsuit, identifying the criteria for that
        determination.

        ANSWER:

9.      Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
        depreciation, stating for each item the criteria used and the age of the item.

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10.     To the extent Defendant utilized an estimating software program and modified the
        manufacturer's settings with respect to Plaintiff's claim, identify those modifications.

        ANSWER:

11.     State whether Defendant applied depreciation to the tear off of the damaged roof and/or
        other debris removal in the claim made the basis of this Lawsuit, identifying the basis for
        that depreciation and the applicable policy section under which the tear off was paid under.

        ANSWER:

12.     Identify all price lists used to prepare all estimates on the claim made the basis of this
        Lawsuit, stating the manufacturer, version, date and geographical area.

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13.     To extent Defendant is aware, state whether the estimate(s) prepared for the claim made
        the basis of lawsuit wrongly included or excluded any item or payment. If so, identify each
        item or payment and state whether it should have been included or excluded from the
        estimates prepared on the claim made the basis this Lawsuit.

        ANSWER:

14.     To the extent Defendant is aware, state-any violations of Texas Insurance Code Section
        541 that were discovered on this claim during the claims handling process.

        ANSWER:

15.     To the extent Defendant is aware, state any violations of Texas Insurance Code Section
        542 that were discovered on this claim during the claims handling process.
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        ANSWER:

                        REQUESTS FOR PRODUCTION TO DEFENDANT

       The following insurance documents issued for the Property as identified in the Petition:

       a.   the policy at issue for the March 2017 wind/hail storm as identified in the Petition; and

       b. the policy declarations page for the 3 years preceding the storm and any endorsements.

RESPONSE:

2.     Produce underwriting files and documents relating to the underwriting for all insurance
       policies for the Property at issue. This request is limited to the past 5 years. To the extent
       Defendant contends that the underwriting file or documents older than 5 years impact the
       damages or coverage, produce that underwriting file or document.

RESPONSE:

3.     AII documents relating to the condition~ or damages of the Property or any insurance
       claim on the Property.

RESPONSE:

4.     AII documents relating to any real property insurance claims made by the Plaintiff(s).
       This request is limited' to the past 5 years. To the extent Defendant contends that
       documents older than 5 years impact the damages or coverage, produce that document.

RESPONSE:

5.     AII requests for information to any third party about the Property, the Plaintiff(s), or the
       claims made the basis of this Lawsuit.

RESPONSE:

6.     AII documents used to instruct, advise, guide, inform, educate, or assist provided to any
       person handling the claim made the basis of this Lawsuit that related to the adjustment of
       these types of claims, i.e., hail property damage.

RESPONSE:

7.     AII documents received (prior to litigation) directly or indirectly from Plaintiff(s) or
       created by Plaintiff(s) related to the,Property made the basis of this lawsuit. This request
       is limited to the past 5 years. To the extent Defendant contends that any document older
       than 5 years impact the damages or coverage, produce that document.

RESPONSE:
8.   Produce a copy of all price lists used to prepare any estimates for the claim made the
     basis of this Lawsuit. To the extent the pricelist is an unmodified pricelist from a third party,
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       you can reference the vendor and version of the pricelist with a stipulation that it is
       unmodified.

RESPONSE:


9.     A complete copy of the personnel file related to performance (excluding medical and
       retirement information) for all people and their managers and/or supervisors who directly
       handled the claim made the basis of this Lawsuit, including all documents relating to
       applications for employment, former and current resumes, last known address, job title, job
       descriptions, reviews, evaluations, and all drafts or versions of requested documents. This
       request is limited to the past 5 years.

RESPONSE:

10.    If an engineer and/or engineering firm evaluated the Property, produce all reports written at
       the request of Defendant by that engineer or engineering firm within the last 5 years. This
       request is limited to the extent that the engineer and/or engineering firm was used during
       claims handling.

RESPONSE:


11.    AII documents relating to issues of honesty, criminal actions, past criminal record,
       criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
       disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
       made the basis of this Lawsuit, the Plaintiff(s) or any person assisting on the claim made
       the basis of this Lawsuit.

RESPONSE:

12.    AII documents relating to work performance, claims patterns, claims problems,
       commendations, claims trends, claims recognitions, and/or concerns for any person who
       handled the claim made the basis of this Lawsuit.

RESPONSE:

13.    AII Simsol Management reports that include this claim in any way, this Policy, the
       amount paid on this Policy and/or referencing any person who handled the claim made
       the basis of this Lawsuit relating to claims occurring in the county of suit on or about the
       March 2017 claimed by Plaintiff(s).

       RESPONSE:

14.    AII documents between Defendant and any person(s) and/or entity(ies) who handled the
       claim made the basis of the Lawsuit regarding document retention policy in effect at the
       time of Plaintiff's claim.

       RESPONSE:

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15.    The claim file related to the claim made the basis of this lawsuit, including all communications
       between Plaintiff and Defendant, and any of Defendant's agents.

       RESPONSE:

               FIRST SET OF REQUESTS FOR ADMISSIONS TO DEFENDANT


REQUEST FOR ADMISSION NO. 1.                 Admit you committed statutory bad faith in adjusting
Plaintiff's claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 2.                 Admit you committed common law bad faith in
adjusting Plaintiff's claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 3.                Admit you breached the insurance agreement by
failing to pay the full amount owed there under.

RESPONSE:

REQUEST FOR ADMISSION NO. 4.                Admit you breached the insurance agreement by
failing to pay the full amount owed there under on a timely basis.

RESPONSE:

REQUEST FOR ADMISSION NO. 5.                Admit you breached the Texas Prompt Payment Act
by failing to pay the full amount owed under the policy in a timely fashion.

RESPONSE:
                                             Respectfully submitted,

                                             PRESTON DUGAS LAW FIRM, PLLC
                                             Oil & Gas Building
                                             309 W. 7th Street, Suite 1100
                                             Fort Worth, Texas 76102
                                             Telephone: (817) 945-3061
                                             Facsimile:     (682) 219-0761
                                             Email: preston@pjdlawfirm.com

                                         By:/s/Preston J. Du_pas lll
                                            PRESTON J. DUGAS III
                                            State Bar No. 24050189

                                             ATTORNEY FOR PLAINTIFF



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                                                                                                                        HZC / ALL
                                                                                                     Transmittal Number: 17116408
Notice of Service of Process                                                                            Date Processed: 09/08/2017

Primary Contact:           Bruce Buttaro
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Liberty Insurance Corporation
                                              Entity ID Number 2538339
Entity Served:                                Liberty Insurance Corporation
Title of Action:                              Ronald W. Cherry vs. Liberty Insurance Corporation
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Freestone County District Court, Texas
Case/Reference No:                            CV 17-316-B
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/08/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Preston J. Dugas III
                                              817-945-3061

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                 Case 6:17-cv-00274-RP-JCM Document 1-1 Filed 10/09/17 Page 17 of 20
                                          THE STATE OF TEXAS

       NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your
attorney do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
following the expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you."

TO: LIBERTY INSURANCE CORPORATION, 211 EAST 7TH STREET, SUITE 620, AUSTIN, TEXAS
78701

Greeting:
       You are hereby commanded to appear by filing a written answer to the petition at or before 10:00 a.m.
of the Monday next after the expiration of twenty days after the date of service of this citation before the
Honorable District Court of Freestone County, Texas at the Courthouse of said County in Fairfield, Texas.

        Said petition was filed in said court, by PRESTON DUGAS LAW FIRM, PLLC, OIL AND GAS
BUILDING, 309 W 7TH STREET, SUITE 1100, FORT WORTH, TEXAS 76102 on August 30, 2017 in this
case, numbered CV 17-316-B on the docket of said court, and styled,

RONALD W. CHERRY

VS

LIBERTY INSURANCE CORPORATION AND
JONATHAN CARNLEY


         The nature of Plaintiff's demand is fully shown by a true and correct copy of the petition accompanying
this citation and made a part hereof

      The officer executing this writ shall promptly mail the same according to requirements of laws, and the
mandates thereof, and make due return as the laws directs.

          Issued and given under my hand and seal of said Court at Fairfield, Texas this September 5, 2017.

          Attest: Teresa Black, District Clerk, P.O. Box 722, Fairfield, Texas 75840

                                                      B        ~1..P~ 5~ MQ                                Deputy


                                CERTIFICATE OF DELIVERY BY MAIL
Came to hand on                      , at        o'clock       M and executed in Freestone County, Texas by
mailing the within named defendant, by certified mail, return receipt requested, a true copy of this citation at the
following address on the following date.

Name & Address of Defendant                   Certified Mail Rec#            Date Mailed            Date Returned
Liberty Insurance Corporation             7016 3560 0000 5299 6090             09-05-2017
211 East 7th Street. Suite 620
Austin, Texas 78701
      _                                        .:     t ~~~i             Deputy
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                         f~ At.e~~ i
                 Case 6:17-cv-00274-RP-JCM Document 1-1 Filed 10/09/17 Page 18 of 20




                                                       OFFICERS RETURN

I CAUSE NO: CV 17-316-B

I DIRECTED TO: LIBERTY INSURANCE CORPORATION, 211 EAST 7Tn STREET, SUITE 620, AUSTIN, TEXAS 78701

I DATE CITATION ISSUED: September          05, 2017


 Came to hand on        day of                           at            o'clock          M. and;

 () executed it by delivering a copy of this citation with the date of delivery endorsed on it to defendant,



                          in person on the         day of                                , 20_ at             o'clock       M.

 At                                                                                                                      ; or

 () executed it by mailing a copy of the citation via registered / certified mail on the          day of                    , 20_

I To defendant

                                                  Attaching the return receipt, with the addressee's signature, to the return; or

J( ) did not execute it because


I Total Fee: S

                                                                       Sheriff/ConstableLDistrict Clerk

                                                                       Of                                        County, Texas

                                                                       By:
                                                                                 Deputy



 COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.

 "My name is                                 , my date of birth is                                         , and my address is



I I DECLARE UNDER PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

I Executed in                             County, State of                   , on the        day of                     , 20_



                                                                       Declarant/Authorized Process Server


                                                                         (Id# & expiration of certificate
             Case 6:17-cv-00274-RP-JCM Document 1-1 Filed 10/09/17 Page 19 of 20
                                         THE STATE OF TEXAS

       NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your
attorney do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
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be taken against you."

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78701

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of the Monday next after the expiration of twenty days after the date of service of this citation before the
Honorable District Court of Freestone County, Texas at the Courthouse of said County in Fairfield, Texas.

        Said petition was filed in said court, by PRESTON DUGAS LAW FIRM, PLLC, OIL AND GAS
BUILDING, 309 W 7TH STREET, SUITE 1100, FORT WORTH, TEXAS 76102 on August 30, 2017 in this
case, numbered CV 17-316-B_on the docket of said court, and styled,

RONALD W.CHERRY
VS
LIBERTY INSURANCE CORPORATION AND
JONATHAN CARNLEY


         The nature of Plaintiff's demand is fully shown by a true and correct copy of the petition accompanying
this citation and made a part hereof.

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mandates thereof, and make due return as the laws directs.

       Issued and given under my hand and seal of said Court at Fairfield, Texas this September 5, 2017.

       Attest: Teresa Black, District Clerk, P.O. Box 722, Fairfield, Texas 75840

                                                                                t~                          Deputy



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Came to hand on                      , at         o'clock _M and executed in Freestone County, Texas by
mailing the within named defendant, by certified inail, return receipt requested, a true copy of this citation at the
following address on the following date.

Name & Address of Defendant                  Certified Mail Rec#             Date Mailed             Date Returned
Liberty Insurance Corporation            7016 3560 0000 5299 6090              09-05-2017
211 East 7I" Street. Suite 620
Austin, Texas 78701

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       ~®~~~
                                  B           •~    1 ~s.~               Deputy
                   Case 6:17-cv-00274-RP-JCM Document 1-1 Filed 10/09/17 Page 20 of 20




                                                          OFFICERS RETURN

I CAUSE NO: CV 17-316-B

I DIRECTED TO: LIBERTY INSURANCE CORPORATION, 211 EAST 7Tu STREET, SUITE 620, AUSTIN, TEXAS 78701

I DATE CITATION ISSUED:             September 05, 2017


    Came to hand on        day of                           at             o'clock         M. and;

    () executed it by delivering a copy of this citation with the date of delivery endorsed on it to defendant,



I                            in person on the         day of                                1 20      at          o'clock       M.

I At                                                                                                                         ; or

    () executed it by mailing a copy of the citation via registered / certified mail on the           day of                    , 20_

    To defendant

                                                     Attaching the return receipt, with the addressee's signature, to the return; or

I( ) did not execute it because


I Total Fee: $

                                                                          Sheriff/Constable/District Clerk

                                                                          Of                                         County, Texas

                                                                          By:
                                                                                     Deputy



    COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.

    "My name is                                 , my date of birth is                                          , and my address is



I   I DECLARE UNDER PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

11 Executed in                               County, State of                   , on the           day of                   , 20_



                                                                          Declarant/Authorized Process Server


                    0                                                       (Id# & expiration of certificate
